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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 SID MILLER, et al., on behalf of              §
 themselves and others similarly situated,     §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §        Civil Action No. 4:21-cv-0595-O
                                               §
 TOM VILSACK, in his official capacity         §
 as Secretary of Agriculture,                  §
                                               §
        Defendant,                             §
                                               §
 FEDERATION OF SOUTHERN                        §
 COOPERATIVES/LAND ASSISTANCE                  §
 FUND,                                         §
                                               §
        Intervenor Defendant.                  §

                                           ORDER

       Before the Court is the Federation’s Motion for Reconsideration (ECF No. 187), filed April

13, 2022. To expedite resolution of the motion, the Court ORDERS Plaintiffs and the Government

to respond no later than April 20, 2022. The Federation may file a reply within 24 hours of the

other parties’ responses.

       SO ORDERED on this 14th day of April, 2022.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
